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               IN THE UNITED STATES COURT OF APPEALS
                       FOR THE FIFTH CIRCUIT


National Association for Gun Rights, Incorporated, et al.,
                  Plaintiffs-Appellees,

                 v.
                                                                          No. 24-10707
Pamela Bondi, U.S. Attorney General, et al.,
                   Defendants-Appellants.




 MOTION TO VOLUNTARILY DISMISS APPEAL UNDER FEDERAL
          RULE OF APPELLATE PROCEDURE 42(b)

      Pursuant to Federal Rule of Appellate Procedure 42(b), the federal government

hereby respectfully moves to voluntarily dismiss its appeal in light of the parties’

settlement of the claims at issue with each side to bear its own costs on appeal.

                                                Respectfully submitted,

                                                MICHAEL S. RAAB
                                                BRAD HINSHELWOOD
                                                 /s/ Laura E. Myron
                                                LAURA E. MYRON
                                                Attorneys, Appellate Staff
                                                Civil Division, Room 7228
                                                U.S. Department of Justice
                                                950 Pennsylvania Avenue NW
                                                Washington, DC 20530
                                                (202) 514-4819
                                                laura.e.myron@usdoj.gov

      May 2025
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                          CERTIFICATE OF SERVICE

      I hereby certify that on May 16, 2025, I electronically filed the foregoing

motion with the Clerk of the Court for the United States Court of Appeals for the

Fifth Circuit by using the appellate CM/ECF system. Participants in the cases are

registered CM/ECF users, and service will be accomplished by the appellate

CM/ECF system.

                                                 /s/ Laura E. Myron
                                                LAURA E. MYRON




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                       CERTIFICATE OF COMPLIANCE

      I hereby certify that the foregoing complies with the type-volume limitation of

Fed. R. App. P. 27(d)(2) because it contains 54 words, according to the count of

Microsoft Word.


                                                 /s/ Laura E. Myron
                                                LAURA E. MYRON




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